                 IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


 MAXWELL KADEL, et al.,

                             Plaintiffs,

                        v.                            Case No. 1:19-cv-00272-LCB-LPA

 DALE FOLWELL, in his official capacity as
 State Treasurer of North Carolina, et al.,

                             Defendants.


     ORDER GRANTING PLAINTIFFS’ MOTION TO EXCLUDE EXPERT
                TESTIMONY OF DR. PETER ROBIE

       This matter comes before the Court on the motion of Plaintiffs Maxwell Kadel;

Jason Fleck; Connor Thonen-Fleck, by his next friends and parents, Jason Fleck and

Alexis Thonen; Julia McKeown; Michael D. Bunting, Jr.; C.B., by his next friends and

parents, Michael D. Bunting, Jr. and Shelley K. Bunting; and Dana Caraway

(“Plaintiffs”) to exclude the testimony of Dr. Peter Robie, a disclosed expert of

Defendants Dale Folwell, Dee Jones, and the North Carolina State Health Plan for

Teachers and State Employees.

       Having considered Plaintiffs’ Motion and Memorandum in Support, and for good

cause shown, IT IS HEREBY ORDERED that Plaintiffs’ Motion to Exclude Expert

Testimony of Dr. Peter Robie is GRANTED.

       This ____ day of _____________ 2022.




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                               The Honorable Loretta C. Biggs
                               United States District Judge




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